Case 1:24-cr-00082-RMB            Document 32           Filed 07/03/24            Page 1 of 11
                                                                        25 Cannon Street
                                                                        London EC4M 5UB
                                                                        UK
                                                                        +44 20 7184 7000 Main
                                                                        +44 20 7184 7001 Fax
                                                                        DX 30 London
                                                                        www.dechert.com

                                                                        Three Bryant Park
                                                                        1095 Avenue of the Americas
                                                                        New York, NY 10036-6797
      July 3, 2024                                                      United States of America
                                                                        +1 212 698 3500 Main
                                                                        +1 212 698 3599 Fax
                                                                        www.dechert.com
      Via ECF & email

      The Honorable Sarah Netburn                                       ROGER BURLINGAME
      United States Magistrate Judge                                    Partner

      United States District Court                                      Roger.Burlingame@dechert.com
      Southern District of New York                                     +44 20 7184 7333 Direct
      500 Pearl Street                                                  +44 20 7184 7001 Fax
      New York, New York 10007                                          +1 212 641 5682 Direct
                                                                        +1 212 698 3599 Fax



              Re: United States v. William Hill, No. 24 Cr. 00082 (RMB)

      Dear Judge Netburn:

      I represent William Hill in the above-captioned matter, in which he is scheduled to make his
      initial appearance before Your Honor on July 9 or 10, 2024, following his uncontested
      extradition from Portugal. The parties have agreed that Mr. Hill should be released on bail. I
      write to request his release to the home in Lisbon he shares with his wife of 33 years, which
      the government opposes, rather than to his sister’s basement in Brooklyn, which the
      government supports.

      Mr. Hill is 65 years old. Originally from Brooklyn, he moved to Paris in 1981, when he was
      23, and remained there for the next 40 years, building a successful career in computer
      programming and meeting a French woman who became his wife. In 2023, Mr. Hill and his
      wife moved to Portugal, where they plan to retire.

      The charges against Mr. Hill involve an app called Samourai Wallet, which helped Bitcoin
      users transact with one another more privately and securely. It was first offered on Google’s
      app store to Android mobile device customers in May 2015 and remained available until April
      2024. The government alleges that it was intended as an unlicensed money transmitting and
      money laundering service.

      This prosecution has already generated considerable controversy, with two sitting U.S.
      Senators decrying it as an “unprecedented interpretation” of the applicable money transmission
      statutes at odds with all relevant guidance from the United States Financial Crimes
      Enforcement Network (“FinCEN”). That guidance has long made clear that peer-to-peer apps
      like Samourai Wallet, which do not exercise independent—or indeed, any—control over
      virtual currency stored or transmitted using the software, do not qualify as money transmitting
      services since the app’s users, not its providers, transmit the virtual currency. The fact that Mr.
      Hill—and Google—offered it openly for nine years evidences that they, like the Senators, also
      thought it was legal.

      Courts in this district routinely release defendants on bail to their homes overseas in
      circumstances where requiring them to remain in the United States is not necessary to ensure
Case 1:24-cr-00082-RMB            Document 32           Filed 07/03/24         Page 2 of 11

                                                                       Hon. Judge Netburn
                                                                       July 3, 2024
                                                                       Page 2


      their return to Court,1 and that is plainly the case here. Even putting aside the clear defenses
      available to Mr. Hill, who is presumed innocent and promptly consented to extradition after
      retaining U.S. counsel, he poses no flight risk. The extraordinarily robust bail package
      negotiated with the government would render his loved ones homeless were he not to appear
      for trial, and the realistic sentence this stable 65-year-old coder would likely face were he
      convicted of programming an app he reasonably believed to be legal would be dwarfed by the
      one he would receive were he to flee. Mr. Hill should be allowed to return to his home in
      Lisbon pending trial.




      1
        See, e.g., United States v. Phillips, No. 22 Cr. 00138 (S.D.N.Y.) (U.K. citizen, a hedge fund
      CEO charged with a $20 million commodities fraud, released on bail to the U.K. prior to jury
      trial and eventual guilty verdict); United States v. Newland, No. 20 Cr. 00351 (SHS) (S.D.N.Y.
      2022) (ECF No. 81) (U.K. citizen charged with an $86 million art fraud released on bail to the
      U.K.); United States v. Neilson, No. 21 Cr. 00189 (S.D.N.Y.) (U.K. citizen charged as a co-
      defendant in a boiler room scheme that allegedly defrauded victims of over $6 million released
      on bail to the U.K.); United States v. Robson et al, No. 14 Cr. 00272 (S.D.N.Y.) (four of the
      defendants, each a U.K. citizen charged with wire fraud with market wide losses estimated to
      exceed $600 billion, released on bail and permitted to travel to the U.K. and certain other
      countries); United States v. Black, No. 16 Cr. 00370 (S.D.N.Y.) (U.K. resident accused of
      engaging in a 6-year conspiracy to manipulate LIBOR with losses to counterparties estimated
      to exceed $4 million who voluntarily appeared from the U.K. released on bail with travel
      limited to the U.S., the U.K, and New Zealand); United States v. Hussain, No. 16 Cr. 00462
      (N.D. Cal.) (U.K. citizen charged with $16 million fraud involving manipulation of financial
      records released on bail to the U.K., with travel permitted except to countries without an
      extradition treaty); United States v. Conti, No. 14 Cr. 00272 (S.D.N.Y.) (U.K. citizen accused
      of manipulating LIBOR with losses to counterparties estimated to exceed $550,000 released on
      bail, with travel permitted to the U.K. and France); U.S. v. Allen, Co. 14 Cr. 00272 (S.D.N.Y.)
      (U.K. citizen accused of manipulating LIBOR with losses to counterparties estimated to
      exceed $1.1 million released on bail and permitted to travel to England and France); United
      States v. Bachmann, No. 11 Cr. 00095 (E.D. Va.) (Swiss citizen charged with conspiracy to
      defraud the U.S. as part of a $10 billion tax evasion scheme released on bail to Switzerland
      (from where defendant could not be extradited)); United States v. Thompson, No. 14 Cr. 00272
      (S.D.N.Y.) (U.K. citizen accused of manipulating LIBOR released on bail and permitted to
      travel to England and various other countries); United States v. Ogiermann, No. 10 Cr. 80157
      (S.D. Fla.) (Luxembourg citizen charged with antitrust violations released on bail with no
      travel restrictions until 30 days prior to trial); United States v. Van de Weg, No. 10 Cr. 80157
      (S.D. Fla.) (Luxembourg citizen charged with antitrust violations released on bail with no
      travel restrictions until 30 days prior to trial); United States v. Usher, et al., No. 17 Cr. 00019
      (S.D.N.Y.) (three U.K. citizens charged with manipulation of foreign exchange trading
      released on bail to the U.K.); United States v. Kyomoto, No. 15 Cr. 00044 (E.D. Ky.) (Japanese
      citizen convicted of antitrust conspiracy released on bail without travel restrictions pending
      self-surrender for 18 month sentence); United States v. Horie, No. 15 Cr. 00003 (N.D. Ohio)
      (Japanese citizen convicted of antitrust conspiracy released bail without travel restrictions
      pending self-surrender for 18 month sentence); United States v. Makov, No. 05 Cr. 00888
      (S.D.N.Y.) (Dual Israeli-American citizen charged with tax shelter scheme with approximately
      $83 million in losses released on bail to Israel).
Case 1:24-cr-00082-RMB             Document 32           Filed 07/03/24          Page 3 of 11

                                                                        Hon. Judge Netburn
                                                                        July 3, 2024
                                                                        Page 3


                                                   Argument

          A. Legal Standard

      The Bail Reform Act “requires a court to order the pretrial release of a defendant on a personal
      recognizance bond ‘unless the [court] determines that such release will not reasonably assure
      the appearance of the person as required or will endanger the safety of any other person or the
      community.’” United States v. Sabhnani, 493 F.3d 63, 75 (2d Cir. 2007) (citing 18 U.S.C. §
      3142(b)). Once that determination is made, the law “favors pre-trial release ‘subject to the
      least restrictive further condition, or combination of conditions, that [the court] determines will
      reasonably assure the appearance of the person as required.’” Id. (citing 18 U.S.C. §
      3142(c)(1)(B). “[T]o determine whether the Government’s [proposed conditions of pre-trial
      release are] excessive,” the Court “must compare [them] against the interest the Government
      seeks to protect by means of [such conditions].” U.S. v. Salerno, 481 U.S. 739, 755 (1987).

          B. Analysis

      The government does not argue that Mr. Hill’s release poses a danger to the community. The
      only issue is risk of flight, and as to that, the parties agree that Mr. Hill should be released on
      bail. The sole issue for Your Honor under the Bail Reform Act is thus whether Mr. Hill’s
      release to Portugal or Brooklyn represents “the least restrictive condition, or combination of
      conditions . . . [that] will reasonably assure [his] appearance as required.” 18 U.S.C. §
      3142(c)(1)(B) (emphasis added).

      Because Mr. Hill does not present a flight risk, and the proposed bail package and conditions
      provide far more than the least restrictive combination of conditions that will reasonably assure
      his appearance, Mr. Hill should be released to his home in Lisbon.

          C. Lack of Flight Risk

      Mr. Hill is a 65-year-old U.S. citizen. After growing up in Brooklyn, in 1981, at age 23, he
      moved to Paris to learn French. He spent the next few years teaching himself computer
      programming while working various jobs, including several years tending bar at the U.S.
      Embassy. In 1986, the British Embassy hired him in IT support. It turned out to be the first
      step in a 38-year career in tech, the vast majority of which he spent writing computer code. In
      or about 2000, Mr. Hill focused his coding on the emerging mobile applications space—the
      work he has performed over the last two and a half decades.

      Soon after its 2008 creation, Mr. Hill became fascinated with Bitcoin. By 2013, he had joined
      Blockchain.com—a company that went on to become a foundational cryptocurrency services
      provider—to write code for its Bitcoin mobile applications. He left in 2016 but has performed
      the same work in the time since.2

      Mr. Hill ended up living in Paris for 42 years. In 2023, he and his wife of 33 years, a retired
      French high school English teacher, moved to Lisbon. They bought an apartment and planned

      2
       In addition to his work coding, Mr. Hill published September 11 Wall Street Sonnets and
      Other New York City Poems, a collection of poems reflecting on the months following the
      World Trade Center attack. His wife translated the collection into French.
Case 1:24-cr-00082-RMB            Document 32          Filed 07/03/24         Page 4 of 11

                                                                      Hon. Judge Netburn
                                                                      July 3, 2024
                                                                      Page 4


      to live out their days there alongside Ms. Hill’s sister and her husband, who were soon to retire
      and follow, with both couples benefiting from the much cheaper cost of living.

      Prior to this case, Mr. Hill had no involvement with law enforcement whatsoever. He has been
      a law-abiding member of society for the entirety of his 65 years, gainfully employed
      throughout his adult life, and has enjoyed a happy and stable marriage of more than 33 years.

      The charges here do not allege he engaged in secret activity—they did not expose hidden facts
      that clash with this portrait of a stable, mature, dependable man. Rather, the government
      alleges that conduct he engaged in openly and notoriously—wholly consistent with the
      reasonable belief of its legality shared by law firm partners and U.S. Senators—was a crime.

      And when Mr. Hill learned of the government’s investigation, he stayed put. He first became
      aware of this investigation while at home in Lisbon in March 2024, when the operator of his
      company’s computer servers informed him that service had temporarily shut down in order to
      provide the U.S. Department of Justice (“DOJ”) with copies of the servers. The next month,
      on April 24, 2024, Portuguese authorities acting at DOJ’s request arrested Mr. Hill in his same
      Lisbon home. Cf. United States v. Friedman, 837 F.2d 48, 50 (2d Cir. 1988) (defendant not a
      flight risk where “[he] apparently took no steps to leave the jurisdiction after federal agents
      executed a search warrant at his home”). The local prosecutors opposed bail, and Mr. Hill has
      remained incarcerated in Lisbon in the time since.

      Through his local Portuguese counsel, Mr. Hill retained Dechert as his U.S. counsel, and
      shortly thereafter—before his arraignment in the extradition case—he waived his right to
      contest extradition. A Portuguese judge ordered it on June 18th, and as Your Honor is aware,
      he is scheduled to be extradited on July 9th.

      Mr. Hill’s long, stable life history and mature profile, including his response to this case—not
      fleeing upon learning of the servers’ seizure; opting to fly across the ocean to face the
      charges—do not present a risk of flight.

          D. The Charges

      The government alleges that in or about and between 2015 and 2024, through their operation
      of Samourai Wallet, a Bitcoin wallet3 app offering privacy and security features, Mr. Hill and
      his co-defendant conspired to (i) operate an unlicensed money transmitting business in
      violation of 18 U.S.C. §§ 1960(b)(1)(B) and (b)(1)(C), and (ii) launder money in violation of
      18 U.S.C. § 1956(h). Specifically, the government alleges that the defendants “intended and
      well-knew” that Samourai Wallet was a haven for criminals to engage in large-scale money
      laundering and sanctions evasion, and that approximately 5% of the Bitcoin it alleges flowed
      through Samourai Wallet—“over $100 million” of “over $2 billion”—constituted criminal
      proceeds. ECF No. 1 ¶ 1.

      Samourai Wallet’s website described the app as a “modern bitcoin wallet” designed “with the
      most advanced privacy enhancing technologies on the market.” The features it touted, such as
      Ricochet and Whirlpool, allowed users to transact more securely and privately by reducing a

      3
        A cryptocurrency wallet is a device, program, or online service that allows users to generate
      cryptographic keys to store and manage their digital assets.
Case 1:24-cr-00082-RMB            Document 32           Filed 07/03/24         Page 5 of 11

                                                                       Hon. Judge Netburn
                                                                       July 3, 2024
                                                                       Page 5


      recipient’s—and unrelated third parties’—ability to piece together (i) the transferred Bitcoin’s
      transaction history4 and (ii) the sender’s wallet address information—information that can
      reveal the sender’s entire transaction history and be used to calculate the remaining Bitcoin in
      the sender’s wallet.

      Google first offered Samourai Wallet, an Android-only app, to Android mobile device users in
      its app store in May 2015. It remained available through April 2024, when Google removed it
      following Mr. Hill and his co-defendant’s arrest. Throughout those nine years, Samourai
      Wallet operated openly and notoriously, and Google made it available to the world’s
      approximately 3.9 billion Android users.

      The government does not allege that the defendants were aware of or agreed to any specific
      criminal transaction with any particular criminal, but rather that their agreement to commit the
      crimes charged is demonstrated by their (i) creating a “privacy” service offering features
      “intended to assist individuals engaged in criminal conduct to conceal the source of the
      proceeds of their criminal activities,” (ECF No. 1 ¶ 10), and (ii) “encourag[ing] and openly
      invit[ing] users to launder money through Samourai,” (id. at ¶ 16).

          E. Relevant Legal Background

      Federal statute prohibits the operation of unlicensed money transmitting businesses. 18 U.S.C.
      § 1960 (“Section 1960”). Section 1960 defines “money transmitting” as “transferring funds on
      behalf of the public.” Id. § 1960(b)(2). The Bank Secrecy Act (“BSA”) similarly defines a
      “money transmitting business” as any business that engages in the “transmission of currency,
      funds, or value that substitutes for currency” or that facilitates “the transfer of money.” 31
      U.S.C. § 5330(d)(1).

      FinCEN’s regulations closely follow the statutes, defining “money transmission services” as
      either: (i) “the acceptance of currency, funds, or other value that substitutes for currency from
      one person and the transmission of currency, funds, or other value that substitutes for currency
      to another location or person by any means”; or (ii) “[a]ny other person engaged in the transfer
      of funds.” 31 C.F.R. § 1010.100(ff)(5)(i). Services that merely “[p]rovide[] the delivery,
      communication, or network access services used by a money transmitter to support money
      transmission services,” are specifically exempt. Id. § 1010.100(ff)(5)(ii)(A).

      During the period Samourai Wallet was available to users on Google’s app store, FinCEN
      published and repeatedly reaffirmed guidance establishing that non-custodial cryptocurrency
      wallets like Samourai did not qualify as money transmitting services under 31 C.F.R. §
      1010.100(ff)(5). For example, in January 2014—before Samourai Wallet was launched—
      FinCEN published guidance stating that activities “involv[ing] neither ‘acceptance’ nor
      ‘transmission’ of the convertible virtual currency . . . are not the transmission of funds within


      4
        Bitcoin uses blockchain technology to record and maintain a clear transaction history for each
      Bitcoin. The blockchain is, effectively, an immutable public ledger of all the transactions for
      each token. The blockchain records: (i) the addresses of the sender and receiver; (ii) the
      timestamp of the transaction; (iii) references to all previous transactions involving that Bitcoin;
      and (iv) confirmation of the given transaction.
Case 1:24-cr-00082-RMB            Document 32           Filed 07/03/24         Page 6 of 11

                                                                      Hon. Judge Netburn
                                                                      July 3, 2024
                                                                      Page 6


      the meaning of the Rule.”5 FinCEN Administrative Ruling FIN2014-R001, Application of
      FinCEN Regulations to Virtual Currency Mining Operations (Jan. 30, 2014), at *3. This
      guidance made clear that direct receipt and control of assets are required elements of money
      transmission. Id.

      In May 2019, FinCEN published additional guidance consolidating the administrative rulings
      and guidance it had issued since 2011. It again confirmed that cryptocurrency wallet providers
      must have “total independent control” over the cryptocurrency being transmitted from a wallet
      to qualify as a money transmitter under the BSA. See FinCen Guidance, FIN-2019-G001,
      Application of FinCEN’s Regulations to Certain Business Models Involving Convertible
      Virtual Currencies (May 9, 2019) § 4.2. It also underlined that “[a]n anonymizing software
      provider is not a money transmitter,” (Id. § 4.5.1(b) (emphasis added)).

      Based on this consistent guidance, cryptocurrency wallet providers understood that non-
      custodial wallets—i.e., software like Samourai Wallet where the wallet provider does not have
      any control over the stored cryptocurrency6—did not qualify as money transmission services
      under the BSA. See, e.g., Nikhilesh De, FinCEN Says Some Dapps Are Subject to US Money
      Transmitter Rules, COINDESK, May 9, 2019, https://tinyurl.com/9r2nw6cb (explaining that
      under FinCEN’s May 2019 guidance “[n]on-hosted wallets . . . meaning those where users
      control their funds, are exempted from possible money transmitter classifications”).
      Accordingly, it has been understood that non-custodial wallets do not need to be registered
      under Section 1960 or the BSA, and that the anti-money laundering provisions under the BSA
      do not apply. See, e.g., King & Spalding LLP, Tying It All Together: FinCEN Consolidates
      Several Years of Cryptocurrency Guidance, May 21, 2019
      https://www.kslaw.com/attachments/000/006/966/original/ca052119.pdf (“[P]roviders and
      users of ‘unhosted’ wallets — software on a person’s device enabling them to conduct
      transactions in [convertible virtual currency] — are not money transmitters so long as the
      wallets are used to purchase goods or services on the user’s own behalf.”)7; Morgan Lewis
      LLP, FinCEN Issues Guidance on Crypto, May 21, 2019,
      https://www.morganlewis.com/blogs/finreg/2019/05/fincen-issues-guidance-on-cryptos



      5
       FinCEN uses “Rule” here in reference to its amended definitions and regulations relating to
      Money Services Businesses. See Bank Secrecy Act Regulations – Definitions and Other
      Regulations Relating to Money Services Businesses, 76 FR 43585 (July 21, 2011).
      6
        As described in the Indictment, users can “store their private keys for any [Bitcoin] address
      they control inside of the Samourai program.” ECF No. 1 ¶ 9. During this process, the users’
      “private keys are not shared with Samourai employees.” Id. Since a private key is necessary
      to “authorize a transfer of Bitcoins,” (id. ¶ 9), Samourai Wallet did not have custodial control –
      i.e. the required “total independent control” over the Bitcoins stored on its users’ wallets, (see
      FinCen Guidance, FIN-2019-G001, § 4.2).
      7
       Convertible virtual currency refers to a “medium of exchange that can operate like currency”
      but does not have legal tender status, and “that either has an equivalent value as a currency[] or
      acts as a substitute for currency.” FinCen Guidance, FIN-2019-G001, § 1.3. Convertible
      virtual currency includes, but is not limited to, digital currency, cryptocurrency, cryptoassets,
      and digital assets. Id.
Case 1:24-cr-00082-RMB            Document 32          Filed 07/03/24         Page 7 of 11

                                                                      Hon. Judge Netburn
                                                                      July 3, 2024
                                                                      Page 7


      (“conducting a transaction through the non-hosted wallet . . . to purchase goods or services on
      the user’s own behalf . . . is not a money transmi[ssion] and is not subject to the BSA.”).

      Loudly echoing these interpretations, United States Senators Cynthia Lummis (R) and Ronald
      Wyden (D) decried this prosecution as an “unprecedented interpretation of” the applicable
      statutes, stating that the unlicensed money transmitting business charge “contradicts the clear
      intent of Congress and the authoritative guidance of [FinCEN].” Senators’ Lummis &
      Wyden’s May 9, 2024 letter to U.S. Attorney General Merrick Garland, attached hereto as Ex.
      A at 1. The Senators explain that “[t]he statutes and regulations are clear that direct receipt
      and control of assets are required elements of money transmission.” Id. at 1. As a result, non-
      custodial crypto wallet developers or publishers like Samourai Wallet “are not subject to
      money transmitting business registration.” Id. at 2 (emphasis in the original).

          F. The Charges in Context

      The government alleges that Mr. Hill’s operation of a business he had every reason to believe
      did not qualify as a money transmitting business constituted a crime because (i) contrary to
      FinCEN guidance and the overwhelming consensus of belief at the time, it actually was a
      money transmitting business and was unlicensed, and (ii) as a money transmitting business that
      did not put in place the controls required by the BSA to prevent money laundering, when
      criminals used the app to launder money, its makers agreed to launder money.

      The theory is as aggressive as it is expansive, akin to charging Apple for cybercrimes
      committed with MacBooks. And like such a charge, it impermissibly uses criminal law to
      affect policy change. To stop Bitcoin wallet providers from providing privacy and security
      services, or to force them to police their customers as banks must, the government has not
      sought to change the law, or even FinCEN’s guidance on it. It has prosecuted individuals
      operating a service they had every reason to believe was legal, and stretched to decorate the
      charges with decontextualized quotes that attempt to sketch out their agreement to criminal
      transactions the government does not allege they knew about in advance or explicitly agreed
      to.8




      8
        This letter is not the proper forum to dissect each of the eight statements the government
      attributes to Mr. Hill and his co-defendant to support the claim they agreed to launder money.
      It is, however, worth noting (i) their scant number—one per year of the conspiracy overall; one
      every three years for Mr. Hill—and (ii) their openness to varying interpretations. For example,
      the three statements the government claims Mr. Hill actually made—i.e., not unsourced
      marketing materials—involve (i) his disagreement with a statement extolling Bitcoin’s use for
      allegedly illegal “Silk Road” transactions like those cited in the indictment as evidence of
      money laundering, (ECF No. 1 ¶ 17), (ii) his rejection of a claim that Samourai Wallet was
      engaged in illegal activity by expressing his deep lack of concern about the allegation (put
      otherwise, an expression of his deep confidence that the app was legal), (id. at ¶ 18), and (iii)
      his recitation of facts about Samourai Wallet’s operations that flowed from it not being subject
      to the BSA, (id. at ¶ 25). These are, of course, not the only possible reading of each
      statement—the government will argue at trial in favor of the interpretation set forth in the
      indictment. The point is not to try the case in this bail letter, but to note that in a speaking
      indictment showcasing its best evidence for the criminal intent necessary to convict, in a case
Case 1:24-cr-00082-RMB            Document 32            Filed 07/03/24         Page 8 of 11

                                                                        Hon. Judge Netburn
                                                                        July 3, 2024
                                                                        Page 8


      Mr. Hill’s understanding of Samourai Wallet’s legality squared with that of U.S. Senators,
      lawyers who focus on the crypto industry such as the authors of the King & Spalding and
      Morgan Lewis articles cited above, the rest of the Bitcoin community, and, apparently Google,
      which by publicly offering and profiting from the sale of an app the government now claims
      was unambiguously “intended to assist individuals engaged in criminal conduct to conceal the
      source of the proceeds of their criminal activities,” would be, according to the government’s
      theory, an unindicted co-conspirator.

      Sitting U.S. Senators showing rare bipartisan agreement to take issue with criminal charges is
      a far from an everyday occurrence. Their opposition is rooted in the radical interpretation
      placed on well-understood statutes to prosecute conduct long understood to be legal. It is a
      fact that speaks volumes about the government’s odds of success at trial, the likely sentence
      were there a conviction, and the chances of the appeal that would follow.

      It is important to highlight that the money laundering charges are not separate and distinct
      from the unlicensed money transmitter charges of which the Senators complain, but rather their
      flip side. If Samourai Wallet was not a money transmitting business, it had no obligations to
      prevent money laundering under the BSA. The money laundering charges are a direct
      outgrowth of the unlicensed money transmitting business charge, and inevitably follow, as they
      will in any future prosecution under this expansive theory. And as stated, the charge is not that
      Mr. Hill knew of any specific money laundering transaction—let alone that he agreed to
      engage in one—but rather that a handful of decontextualized statements show (i) he knew or
      must have known that such transactions were happening and (ii) he therefore agreed to them.
      In other words, the allegation is that because he ran an unlicensed money transmitting business
      and was, or should have been, aware that criminals used the business to launder money, he
      conspired to money laundering.

      The novelty and aggressiveness of the charges goes directly to risk of flight. Mr. Hill is not
      facing an assured life behind bars. He is facing charges he can, should, and will contest at
      trial. When he does, and his conduct is properly contextualized—showing him to be a
      computer programmer and privacy advocate operating what he believed to be a legal business
      addressing one of Bitcoin’s flaws—it will render him sympathetic, likely not guilty, and if the
      jury were to get it wrong, unworthy of a lengthy sentence. Indeed, given his actual conduct
      when placed in context, Mr. Hill could only risk the sort of sentence that might cause one to
      consider flight by fleeing from the charges.

          G. The Suretors, Bail Package & Conditions of Release

      As noted, with the exception of the location where he will reside during the pendency of the
      case, the parties have agreed to Mr. Hill’s release on bail.

      The government has agreed to Mr. Hill’s release to his sister’s basement in her home in
      Brooklyn on a $2 million bond supported by three suretors: his wife; his sister, a nurse who is
      his lone sibling; and his brother-in-law, a retired firefighter who lives with Mr. Hill’s sister and
      two of their adult children in their Brooklyn home. As security, Mr. Hill’s wife will pledge
      $200,000 in cash; his sister and her husband, their Brooklyn home valued at approximately

      that will turn on intent, the government has included a scant number of statements that are far
      from smoking guns.
Case 1:24-cr-00082-RMB            Document 32            Filed 07/03/24         Page 9 of 11

                                                                        Hon. Judge Netburn
                                                                        July 3, 2024
                                                                        Page 9


      $1.65 million. The agreed conditions of Mr. Hill’s release include (i) location monitoring via
      an ankle bracelet, (ii) travel limited to the Eastern and Southern Districts of New York, (iii) a 7
      p.m. curfew, and (iv) other standard conditions that Pretrial Services recommends.

      The government does not agree to Mr. Hill’s release to Portugal. However, if the Court were
      to find that he is properly released there under the Bail Reform Act, the parties have agreed to
      the face value and security for such a bond: $3 million supported by the same cash and
      property pledged in support of the bond noted above, as well as (i) Mr. Hill and his wife’s
      home in Portugal, which is valued at approximately €1,050,000 (~$1,120,000), and (ii) Mr.
      Hill’s wife’s sister and her husband’s home in Paris, valued at approximately €272,700
      (~$295,000).9

      The conditions attending Mr. Hill’s release to Portugal have not been discussed. We propose
      mirroring the agreed-upon conditions that he would be under were he in Brooklyn together
      with terms to effectuate them that have been used in other cases where defendants are released
      on bail to their homes overseas. These would include: (i) my possession of Mr. Hill’s
      passport, and my or a member of my firm traveling with Mr. Hill as required to attend court
      appearances, maintaining possession of the passport throughout; (ii) travel limited to Lisbon
      city limits, with a condition that Mr. Hill possess his phone at all times with location tracking
      enabled—a condition that can be monitored with randomly-timed video calls by his Pretrial
      Services Officer (“PTSO”); (iii) the same 7 p.m. curfew, which can also be enforced through
      random calls from his PTSO; and (iv) any other conditions that Pretrial Services recommends.

      Mr. Hill has no children. His family consists of his wife, his sister and her husband, and his
      wife’s sister and her husband. All are sureties to the bond. None are wealthy, and all have bet
      their financial futures on his abiding by the terms of the bond. These sureties—a nurse, a
      retired firefighter, a physical trainer, an administrator for a gym, and a retired teacher—have
      drawn on a combined 172 years10 witnessing Mr. Hill’s behavior to inform their decision that
      he will return to court as required. Further, as a group ranging from their late-fifties to mid-
      sixties, with each either already retired or soon-to-be retired, they are making this decision
      with the knowledge that they could never hope to recoup what they would lose were he to flee.
      These sureties ideally fulfill both halves of the logic driving our surety-driven bail system:
      9
       As detailed in their letters to the Court attached hereto at Exhibits B & C (the “Letters”), French
      and Portuguese counsel stand ready to immediately execute the attached mortgages on the
      pledged foreign properties that will (i) prevent their transfer during the life of the bond and (ii)
      create a $3 million interest in each in favor of the SDNY Clerk of Court that would perfect upon
      a finding that Mr. Hill violated the conditions of his release. In fact, counsel have already taken
      steps to execute these mortgages, including registering the proposed promissory note for Mr.
      Hill’s home with the Portuguese land registry. The Letters and their supporting attachments
      (and translations) detail the work performed to value the properties and how the legally binding
      obligations in each country will prevent transfer and secure the U.S.’s interest in the properties
      such that the sureties’ interests would be defaulted and the U.S.’s secured upon the violation of
      Mr. Hill’s terms of release. Should the Court agree to Mr. Hill’s release, the effectuating
      contracts will be fully executed and become effective within five working days.
      10
         Mr. Hill’s 62-year-old sister has known him her whole life; her husband of 39 years, for the
      duration of their marriage; his wife, for 34 years, 33 of which they have been married; her
      sister, for the duration of their marriage; and her husband, for the 10 years of their marriage.
Case 1:24-cr-00082-RMB           Document 32          Filed 07/03/24         Page 10 of 11

                                                                      Hon. Judge Netburn
                                                                      July 3, 2024
                                                                      Page 10


      their deep knowledge of Mr. Hill and willingness to bet all they have on him sheds significant
      light on who he is and the actual risk of flight he presents; the assuredness of their financial
      destruction were there a violation and Mr. Hill’s knowledge of that fact provides significant
      additional assurance that their bet is a safe one.11 It is an extraordinary bail package and
      should be a significant factor in the Court’s weighing of the combination of conditions that
      “reasonably assure [Mr. Hill’s] appearance.”

      Turning to the conditions of release, it is worth underlining that the “reasonably assured”
      standard does not require conditions that make flight impossible. The government has
      acknowledged this—as well as a significant lack of flight risk—by agreeing to Mr. Hill’s
      release to Brooklyn on an ankle bracelet. In evaluating the differing conditions of release, the
      question presented is narrow: whether Mr. Hill living in his home in Portugal rather than
      Brooklyn, and monitoring his location via a phone rather than an ankle bracelet, will make the
      difference between his reasonably assured appearance and flight.

      The answer is clear. The government trusts Mr. Hill will not flee from Brooklyn because of
      who he is, his demonstrated desire to face and not run from the charges, the realistic sentence
      he would face on them, and the reassurance provided by a bail package that would financially
      cripple and leave homeless the people he loves. These factors hold equally true in Portugal—
      indeed, more so, due to the significantly more robust bail package—and are unaffected by the
      differential between monitoring via phone or ankle bracelet. Were Mr. Hill intent on fleeing
      from the case without his passport, nothing about the ankle bracelet or his location in Brooklyn
      would change the equation. Both passport-less flights to a life on the run would be equally
      hard for this 65-year-old computer programmer who must apply prescription glaucoma eye
      drops daily. Both would require him to either abandon his wife of 33 years or force her into a
      life on the run alongside him. Both would inevitably end in capture and set him up for an
      exponentially longer bail-jumping sentence than he would likely receive on the underlying
      charges. And both are utterly fanciful and not remotely in line with who he is, who the sureties
      know him to be, and the actual risks this prosecution creates.

      Mr. Hill’s return to court as required is more than reasonably assured under either set of bail
      conditions. The debatable added flight deterrence provided by the ankle bracelet and Brooklyn
      location are immaterial to the equation—let alone forming the tipping point they must to affect
      the Court’s determination—and any added deterrence they may provide is more than overcome
      by the additional suretors and properties that would support his release to his home.




      11
        The Court can trust that the negative consequences for the three overseas suretors are
      assured. Upon an order that the bond were violated, the U.S.’s interest in the overseas
      properties would be just as assured as its interest in the $200,000 cash deposited with the Clerk
      of Court. The government might need to take steps to sell the property just as it would for the
      U.S. property, and those procedures might not be familiar, but that is irrelevant to the bet
      placed by the suretors: upon a violation the U.S. would have a perfected right to force sale of
      their properties, that would appear in the public record, and the properties would be unsellable.
Case 1:24-cr-00082-RMB           Document 32           Filed 07/03/24          Page 11 of 11

                                                                       Hon. Judge Netburn
                                                                       July 3, 2024
                                                                       Page 11


      Finally, because Mr. Hill will contest the charges at trial and, if necessary, beyond, he is likely
      to spend significant time—potentially years—on bail.12 In Brooklyn, that time would be a
      serious and unwarranted punishment for a man presumed innocent. It would not only entail
      living thousands of miles from his home in a basement, but doing so in a country where neither
      he nor his 65-year-old wife enjoy the free medical care they do in Portugal, something that
      could render this unwarranted and unnecessary punishment financially devastating were either
      of them to face a serious health issues.

                                                 Conclusion

      For the reasons above, we respectfully request Mr. Hill’s release to his home in Lisbon on the
      bail package and bond conditions outlined above. We greatly appreciate the Court’s careful
      consideration and look forward to addressing any questions Your Honor may have.

      Respectfully submitted,


            BIT
      Roger A. Burlingame

      cc:     The Honorable Richard M. Berman (via ECF)
              AUSAs Andrew Felton & David Chan (via ECF & email)




      12
        The government has already indicated that discovery in this case will be extremely
      voluminous; reviewing it will be time consuming. When combined with anticipated
      substantial motion practice, the trial could well not take place until deep into 2025.
